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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

    UNITED STATES OF AMERICA, eta!.,

             Plaintiffs,

    V.                                                             2:21-CV-022-Z

    PLANNED PARENTHOOD
    FEDERATION OF AMERICA, et al. ,

             Defendants.


                            MEMORANDUM OPINION AND ORDER

         Before the Court are parties' competing motions for sununary judgment. Plaintiffs filed

their motions for summary judgment ("Motions") (ECF Nos. 473, 474), on January 6, 2023.

Defendants filed their motions for summary judgment ("Cross-Motions") (ECF Nos. 465, 470),

on the same day. Having found that Affiliate Defendants are obligated to return the Medicaid

overpayments to Texas and Louisiana and that the Planned Parenthood Federation of America is

entitled to sununary judgment on Affiliate Defendants' alleged reverse false claims, the Court

GRANTS the Motions and Cross-Motions IN PART. 1

         BACKGROUND

         Plaimed Parenthood Federation of America ("PPFA") is a nonprofit corporation with

nearly $400 million in annual revenue and $500 million in assets. ECF No. 391 at 19. Healthcare

centers branded as "Plaimed Parenthood" are owned and operated by PPFA's 49 affiliates. Id. at

20; ECF No. 414-1 at 6. Several of those affiliates operate clinics in Texas and/or Louisiana:

Plaimed Parenthood Gulf Coast ("PPGC"), Plaimed Parenthood of Greater Texas ("PPGT"),


1
 This Order likewise disposes of Defendants' Motion for Judgment on the Pleadings (ECF No. 533) and Plaintiffs'
Motions to Strike Defendants' Motion for Judgment on the Pleadings (ECF No. 536) and for Leave (ECF No. 552).
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Planned Parenthood of Cameron County ("PPCC"), Planned Parenthood South Texas ("PPST"),

and Planned Parenthood of San Antonio ("PPSA") (collectively, "Affiliate Defendants"). Id. at 1.

        Between 2013 and 2015, Relator Alex Doe engaged in an undercover investigation of

Planned Parenthood' s procurement and sale of fetal tissue. Id. at 25. During the investigation,

Relator met and recorded conversations with various PPFA and PPGC employees who discussed

the possibility of providing fetal cadavers for research and altering abortion procedures to provide

intact or mostly intact specimens. Id. During one such meeting, a PPFA employee jokingly said

she "want[cd] a Lamborghini" when discussing the price per specimen. ECF No. 2 at 24. That

employee also discussed the possibility of altering abortion procedures to be "less crunchy" to

obtain more intact specimens. Id. Similarly, a different PPFA employee said:

        So then you're just kind of cognizant of where you put your graspers, you try to
        intentionally go above and below the thorax, so that, you know, we've been very
        good at getting heart, lung, liver, because we know that, so I'm not gonna crush
        that part, I'm going to basically crush below, I'm gonna crush above, and I'm gonna
        see if I can get it all intact.

ECF No. 81 at 43. On another occasion, PPGC employees escorted Rclator on a laboratory tour to

demonstrate the types of specimens they could procure. ECF No. 391 at 25. Among the specimens

displayed, Relator viewed fetal body parts from a recent second-trimester abortion in a Pyrex dish.

Id. These PPGC employees stated they could avoid federal and state partial-birth abortion laws by

claiming they did not intend to procure intact or mostly intact specimens. Id. at 26.

        Wearing a hidden camera, Relater captured these conversations on video and provided the

footage to Texas in late May or early June of 2015. Id. 2 Texas then shared the information with

Louisiana, and both states - along with the Department of Justice and the United States Congress

-   opened investigations into Planned Parenthood. Id.


2The videos "were authentic and not deceptively edited." Planned Parenthood of Greater Tex. Fam. Plan. &
Preventative Health Servs. , Inc. v. Kauffman, 981 F.3d 347, 380 n.8 (5th Cir. 2020) (Elrod, J., conct11Ting).


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        On September 15, 2015, the Louisiana Department of Health and Hospitals ("LDH")

sent letters informing PPGC of the State's intent to terminate or revoke PPGC's Medicaid

provider agreements. Id. at 26- 27. Those letters noted that PPGC was entitled to an administrative

review of the decision within 30 days. Id. at 27. Neve1iheless, PPGC declined to request

an administrative hearing and instead filed suit in Louisiana federal court, with PPFA

representing PPGC and several of PPGC's patients. Id. These PPGC patients obtained a

preliminary injunction that temporarily prevented Louisiana from giving effect to PPGC's

termination. See id. at 28; Planned Parenthood Gulf Coast, Inc. v. Kliebert, 141 F. Supp. 3d 604

(M.D. La. 2015). Thus, PPGC continued to file claims for Medicaid reimbursement while the

injunction was pending and was paid by the State. Id.

        After Texas conducted its investigation, the Texas Office of the Inspector General ("OIG")

sent a preliminary Notice of Termination to Affiliate Defendants on October 19, 2015. Id.

That letter also notified Affiliate Defendants of their right to an administrative appeal, and- as in

Louisiana -      they chose not to engage in the administrative process. Id. at 29. OIG sent the

Affiliate Defendants a Final Notice of Termination of all provider agreements on December 20,

2016, and Defendants obtained a preliminary injunction in the Western District of Texas3 on

February 21 , 2017. Id. at 29- 31. Defendants thereafter continued to file claims for reimbursement

with Texas Medicaid that were paid by the state due to the injunction. Id. at 31.

        The federal termination litigation culminated on November 23, 2020, with an en bane

decision by the United States Court of Appeals for the Fifth Circuit. See Kauff111an, 981 F.3d 347.

That decision held that the individual beneficia1y plaintiffs had no right of action to challenge



3
 See Planned Parenthood of Greater Tex. Fam. Plan & Preventative Health Servs., Inc. v. Smith, 236 F. Supp. 3d
974 (W.D. Tex. 2017). Because the cm111 found the individual beneficimy plaintiffs had a right of action, it did not
decide whether the affiliate providers also had such a right. Id. at 988.


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Affiliate Defendants' termination and vacated the injunction. Id at 368-70. After Affiliate

Defendants asked Texas for a six-month "grace period" to remain a participant in the Medicaid

program, Texas sent a letter on January 4, 2021, denying that request but allowing 30 days for

Affiliate Defendants to transition patients to new providers. ECF No. 391 at 32. The day before

that period expired, Affiliate Defendants filed a lawsuit in Travis County District Court in Austin,

Texas and obtained a temporary restraining order ("TRO"). Id On March 10, 2021,

Judge Livingston denied the requested relief after finding no authority that a federal ittjunction

stays administrative deadlines. Id at 33. Affiliate Defendants billed Texas Medicaid for services

until March 10 or 12 of 2021. See ECF Nos. 81 at 3, 417 at 22. They have not paid back the money

received during the preliminary injunctions or under the state court's TRO. ECF No. 391 at 33.

       On February 5, 2021, Relator filed the instant qui tam action against Defendants, alleging

that they violated state and federal law by (1) falsely certifying their compliance with Texas and

Louisiana Medicaid rules and regulations and by (2) failing to repay the government millions of

dollars of Medicaid funds that they knew or should have known they were obligated to repay .

See generally ECF No. 2. To those ends, Relator seeks civil penalties and treble damages under

the False Claims Act ("FCA"), the Texas Medicaid Fraud Prevention Act ("TMFPA"), and the

Louisiana Medical Assistance Programs Integrity Law ("LMAPIL") on behalf of the United States,

Texas, and Louisiana. Id. On November 1, 2021, Texas notified the Court of its election to

intervene in the suit. ECF No. 16. On November 3, 2021, the United States declined to intervene.

ECF No. 18. Louisiana has neither elected nor declined to intervene.

        Plaintiffs' expert Donald E. Lochabay, Jr. determined that Affiliate Defendants submitted

45,181 false claims to the Texas Medicaid program and 99,230 false claims to the Louisiana




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Medicaid program. 4 ECF No. 391 al 36. Plaintiffs allege there were $8,962,161 in false claims

submitted to the Texas Medicaid program and $8,059,229 in false claims submitted to the

Louisiana Medicaid program. Id. at 36- 37. The current minimum penalty for violating the FCA is

$12,537 per violation, with a maximum penalty of $25,076 per violation. See Civil Monetcuy

Penalties Inflation Adjustments for 2022, 87 Fed. Reg. at 27515 (May 9, 2022).

        LEGAL STANDARD

        A court "shall grant sununaiy judgment if the q10vant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law."

FED. R. C1v. P. 56(a). A fact is "material" if its existence or non-existence "might affect the

outcome of the suit under the governing law," and the dispute about a material fact is "genuine" if

"the evidence is such that a reasonable jmy could return a verdict for the nonmoving party."

Anderson v. Liberty Lobby, Inc., 4 77 U.S. 242, 248 (1986).

        Similarly, "[o]n cross-motions for sununary judgment, the Court review[s] each party's

motion independently, viewing the evidence and inferences in the light most favorable to the

nonmoving party." Texas v. Reffig, 987 F.3d 518, 526 (5th Cir. 2021 ). And importantly, courts

ca1mot make "credibility determinations" when considering conflicting evidence or competing

inferences. Anderson, 477 U.S. at 255. If "reasonable minds could differ as to the import of the

evidence" on a disputed allegation, the court must deny the motion. Id. at 250.

        ANALYSIS

        A. Affiliate Defendants' Liability for Submitting "Reverse False Claims"

        "In a reverse False Claims Act suit, there is no improper payment by the govermnent to a

defendant, but rather [] an improper reduction in the defendant's liability to the government."


4 Mr. Lochabay noted that the Louisiana numbers for claims submitted and amounts received would require
recalculation before trial because PPGC continued to bill Louisiana Medicaid after the dates of his reports. Id. at 37.


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United States ex rel. Marcy v. Rowan Cos., Inc., 520 F.3d 384, 390 (5th Cir. 2008); United States

ex rel. Guth v. Roedel Parsons Koch Blache Balhoff & McCollister, 626 F. Appx. 528, 534 (5th

Cir. 2015). Accordingly, any person who "knowingly conceals or knowingly and improperly

avoids or decreases an obligation to pay or transmit money or property to the Government" may

be liable. 31 U.S.C. § 3729(a)(l )(G); see also Kane ex rel. United States v. Health.first, Inc. , 120

F. Supp. 3d 370, 394 (S.D.N.Y. 2015) ("[T]o retain -      to not return - an overpayment constitutes

a violation of the FCA. "). 5

        The term "obligation" means "an established duty, whether or not fixed, arising from an

express or implied contractual, grantor-grantee, or licensor-licensee relationship, from a fee-based

relationship, from statute or regulation, or the retention from any overpayment." 31 U.S.C.

§ 3729(6)(3); see also TEX. HUM. RES. CODE§ 36.001(7-a); La. R.S. § 46437.3(16) (substantially

similar). Meamvhile, the federal Patient Protection and Affordable Care Act ("ACA") defines an

"overpayment" to include "[a]ny funds that a person receives or retains under subchapter XVIII or

XIX to which the person, after applicable reconciliation, is not entitled under such subchapter."

42 U.S.C. § 1320a-7k(d)(4)(B). Thus, the failure to return an overpayment within 60 days

constitutes a reverse false claim. See 42 U.S.C. § 1320a-7k(d); I TEX. Amv11N. CODE§ 371.1655(4).

        In Texas, a provider whose Medicaid credentials are terminated is no longer eligible to

seek or receive Medicaid reimbursement. See 1 TEX. ADMIN. CODE§§ 371.1705(e)(5), 371. 1703,

371.1655(4). Importantly, termination becomes effective 30 days from receipt of the Final Notice

ifno administrative appeal is requested. Id. at§§ 371.1703(f)(2); 371.1617(a)(l), 371.1703(g)(8).

And a provider who submits or causes to be submitted claims for services furnished during




5 The TMFPA and LMAPIL contain nearly identical provisions. See TEX. HUM. RES. CODE§ 36.002(12); La. R.S.

§ 46:438.3(C).


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a termination period may be liable to repay any submitted claims. Id. at §§ 371.1703(g)(5),

371.1655(3)-(4). Similar provisions exist in Louisiana. ECF No. 390-4 at 431.

          Here, Affiliate Defendants opted not to contest their termination in state administrative

proceedings and instead pursued relief in federal court. Thus, Plaintiffs argue termination from

Texas Medicaid became effective by operation of state law 30 days from receipt of the Final Notice

-   "on around January 19, 2017 (but certainly no later than February 1, 2017)." ECF No. 391 at

30-31.6 Similarly, Relator argues the Louisiana termination became final by operation of state law

"on or around October 15, 2015." Id. at 5; 50 La. Admin Code Pt I,§ 4169(A).

          Parties moved for summary judgment on the alleged reverse false claims. See ECF No. 391

at 45; ECF No. 382 at 34. Plaintiffs argue the funds Affiliate Defendants received during the

pendency of the vacated preliminary injunctions constitute "overpayments" because they were

terminated from the Medicaid programs during that period and therefore not entitled to the money .

ECF No. 391 at 4 7. Further, Plaintiffs contend this conduct constitutes reverse false claims because

Affiliate Defendants did not refund the money within 60 days of knowing they were not entitled

to it -     at a minimum, 60 days after the Fifth Circuit's decision in Kauffman. Id at 56.

Thus, the Court must ascertain whether: (1) Affiliate Defendants had an "obligation" to remit these

payments; and (2) if so, whether they "knowingly and improperly" avoided such obligations.

          1. Affiliate Defendants ltad a11 obligatio11 to retum tlte ove1payme11ts

          "Obligations" must be "established duties," but they need not be "fixed" and can arise from

a list of sources, including statutes and regulations. United States ex rel. Simoneaux v. E.I. du Pont




6 Affiliate Defendants argue that Plaintiffs incorrectly conflate "termination" with "exclusion" from Texas Medicaid.

ECF No. 417 at 26 n.18 (comparing 1 TEX. ADMIN. CODE§ 371.1703 with Section 371.1705). To the extent there is
a meaningful difference, the latter statute makes clear that "exclusion" becomes effective on the date of"termination"
- thus, Affiliate Defendants are incorrect to suggest that they had yet to be "excluded" from Texas Medicaid when
their administrative appeal deadline had passed. See I TEX. ADMIN CODE § 371 .1705(e)( I )(8).


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de Nemours & Co., 843 F.3d 1033, 1037 (5th Cir. 2016). Here, Plaintiffs argue Defendants'

obligation to return overpayments arose from state and federal law and provider agreements.

See ECF Nos. 391 at 49- 52, 415 at 20 ("Because Plmmed Parenthood had no valid provider

agreement during the pendency of the pr~liminary injunctions, it was not entitled to the money it

received as a matter of law."). Affiliate Defendants do not dispute the validity of the relevant laws

and agreements but aver that vacatur of the Smith injunction in Kauffman did not create a

repayment obligation. ECF No. 382 at 35. The Court disagrees.

        To begin, American jurisprudence recognizes "the principle, long established and of

general application, that a party against whom an erroneous judgment or decree has been carried

into effect is entitled, in the event of a reversal, to be restored by his adversary to that which he

has lost thereby." Arkadelphia 1\1illing Co v. St. Louis SW. Ry. Co., 249 U.S. 134, 145 (1919).

Courts have relied on this principle for more than a century to permit recovery of payments in

similar contexts. 7 Indeed, "[t]he fairness principle at issue should be obvious - a party who relies

upon the wrong interpretation of the law should not be rewarded over a party who relies upon the

correct interpretation." Dillow v. Home Care Network, Inc., No. l:16-CV-612, 2017 WL 749196,




7 See, e.g., Baltimore & 0. R. Co. v. United States, 279 U.S. 781, 786 ( 1929) ("When the e1Toneous decree was reversed

and the invalid order was set aside, the law raised an obligation against each of the west side [rail]roads to make
restitution of the payments made by the east side roads in compliance with the order."); Ex parte Lincoln Gas & Efec.
Light Co., 256 U.S. 512, 518 ( I 921) (holding it was proper to require gas company to refund overcharges collected
from gas consumers during injunction); Alf.for Water Efjicie11cy v. Flyer, 892 F.3d 2 80, 285 (7th Cir. 2018) (courts
have inherent equitable powers to award restitution when a victorious appellant "seek[s] to recover what he lost while
living under an erroneous judgment"); /11 re Bayou Shores SNF, LLC, 828 F.3d 1297, 1327- 28 (I Ith Cir. 2016)
(rejecting argument that dissolvement of an injunction mooted the case because the government could still "recover
[Medicaid] payments" made during the injunction); Nat '{ Kidney Patie11ts Ass '11 v. S11ffiva11, 958 F.2d 11 27, 1134- 37
(D.C. Cir. 1992) (vacating order that purported to prevent HHS from recovering payments made to Medicare provider
under a preliminaiy injunction); Ald. Dep 't of f/11111. Res. v. U11ited States Dep 't of Agric., 976 F.2d 1462, 1480- 83
(4th Cir. 1992) (vacating preliminmy injunction barring the USDA from recouping food stamp over-issuances or
imposing penalties during the pendency of the litigation); 1iimer v. McMahon, 830 F.2d 1003, 1007-09 (9th Cir.
 1987), cert. de11iecl. 488 U.S. 818 (1988) ("Congress intended that overpayments must be recouped without
restriction."); Middlewest Afotor Freight Bureau v. United States, 433 F.2d 2 12, 228 (8th Cir. 1970) (applying the
"general principle" that "a party who obtains a benefit from an improperly issued injunction has the duty to restore
that benefit to those who have been injured by the injunction").


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at *4 (S.D. Ohio Feb. 27, 2017). To hold contrarily would be to misunderstand the relationship

between interpretive decisions and the law: "Decisions are mere evidences of the law, not the law

itself; and an overruling decision is not a change of law but a mere correction of an erroneous

interpretation." Legg 's Est. v. Comm 'r of Internal Revenue, 114 F.2d 760, 764 (4th Cir. 1940).

        Further, "[i]t has long been well established that the reversal of a lower court's decision

sets aside that decision, leaves it 'without any validity, force, or effect,' and requires that it be

treated thereafter as though it never existed." Khadr v. United States, 529 F.3d 1112, 1115 (D.C.

Cir. 2008) (quoting Butler v. Eaton, 141 U.S. 240, 244 (1891 )). 8 Hence, "[t]he interlocutory

injunction is not a complete remedy" -            and if the final judgment dissolves the injunction and

denies permanent relief, "state officials would be free to prosecute any violation within that

limitations period." Douglas Laycock, Federal lnte,ference with State Prosecutions: The Need for

Prospective Relief, 1977 SUP. CT. REV . 193, 209 (1977).

        Additionally, "[a]n injunction enjoins a defendant, not a statute." Okpalobi v. Foster, 244

F.3d 405,426 n.34 (5th Cir. 2001); see also Whole Woman's Health v. Jackson, 141 S. Ct. 2494,

2495 (2021) ("[F]ederal courts enjoy the power to enjoin individuals tasked with enforcing laws,

not the laws themselves."). That is because there "is no constitutional or statutory authority that

permits a federal judge to grant dispensation from a valid state law." Edgar v. MITE Co,p., 457

U.S. 624, 653 (1982) (Stevens, J., concurring). In other words, an injunction may not strip an

agency of its power to exercise lawful authority conferred through statute. See i\tJd. Dep 't ofHum.

Res., 976 F.2d at 1480. Accordingly, the injunctions did not "purge from the statute books" the




8
  This holding from Khadr also explains why Defendants' repeated assertions that Ka11ff111a11 "did not disturb the
district court's findings that there was no evidence of wrongdoing by the Affiliate Defendants" are incorrect. ECF No.
382 at 22.


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relevant laws governing the termination of Affiliate Defendants' status as Medicaid providers.

Win.mess v. Yocom, 433 F.3d 727, 728 (10th Cir. 2006). 9

        Defendants' 10 counterargument chiefly relies on the Fifth Circuit's decision in Wenner v.

Tex. Lotte,y Comm 'n, 123 F.3d 321, 326 (5th Cir. 1997). There, a Pennsylvania court enjoined the

Department of Justice from enforcing newly enacted federal law against Pie-A-State, a corporation

that purchased out-of-state lottery tickets on behalf of customers. Id at 323. While the injunction

was in effect, Wenner bought two winning Texas lottery tickets from a Pie-A-State outlet in

Pennsylvania. Id When the Texas Lottery Commission ("TLC") refused to honor his claim,

alleging violations of both federal and Texas law, the Pe1msylvania court rejected Pie-A-State's

constitutional challenge and dissolved the injunction on its own accord. Id at 324.

        Wenner then sought a declaratory judgment that his winning ticket was valid, and the Fifth

Circuit held that the contract arising from the purchase was not unenforceable ~ reversing the

district court's grant of summary judgment in favor of TLC. Id at 324-25. Thus, Defendants argue

that the Wenner holding "unquestionably establish[es]" the legality of their conduct during the

periods covered by the injunctions." ECF No. 382 at 42.

         Important to the Fifth Circuit's analysis, however, was that "the injunction was correctly

and legally issued." See Wenner, 123 F.3d at 326, 325 ("[A] legally issued injunction froze the

status quo."); see also Kidney Patients, 958 F.2d at 1129 ("[F]or obvious reasons the law draws a

vital distinction in this context behveen a valid and an invalid decree."). But that was not the case


9 Courts have also applied this rationale in other contexts.  See, e.g., Childre11 's Hosp. Ass'11 o/Tex. v. Azar, 507 F.
Supp. 3d 249, 258 (D.D.C. 2020) (holding the effective date of an administrative rule was the originally scheduled
date~ not the date on which the district court's holding that the rule is invalid was reversed); see also Ray v. C11ty.
of Los A11geles, 935 F.3d 703, 7 I 5 (9th Cir. 2019) ("[A]n e1TOneous vacatur cannot postpone a rule's effective date
until an appellate court corrects the error sometime in the future.").
10 Because PPFA joined Affiliate Defendants' briefing in full, the Court will use the collective "Defendants" where

appropriate to spare the reader from unnecessarily reading "Affiliate Defendants" ad na11sem11. But such phrasing
should not be construed as an indicator of collective liability, except for the Court's discussion of the conspiracy
claims in Section D, i11fra.


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here. In vacating the Texas injunction, the Fifth Circuit held that Medicaid beneficiaries have no

right to challenge a state's determination that a provider is unqualified. Kauffman, 981 F.3d at 353;

see also Nutritional Support Servs., L.P. v. Miller, 826 F. Supp. 467,470 (N.D. Ga. 1993) (Carnes,

J.) (concluding provider plaintiffs have no enforcement right under the same statute). 11

        Additionally, the Wenner court weighed equitable considerations in reaching its result and

concluded that TLC benefitted from the ~injunction in various ways. 123 F.3d at 327.

Contrarily, Wenner was an "unsuspecting and unknowing" patron ,.vho was unaware of the

injunction when he bought his lottery tickets. Id. Given that context, the court concluded that

adopting TLC's position would be "wholly inequitable." Id. But again, that is not the case here.

"The Government is not seeking to claw back the money merely lo pocket the funds or to avoid

paying for the care of [Affiliate Defendants'] patients." Bayou Shores, 828 F.3d al 1328 n.55.

"Rather, the Government (as required by statute) will not pay a facility . . . that fails to comply

with health and safety regulations." Id. "In other words, while the Government may be required

to pay for the care of [Affiliate Defendants'] patients, it reasonably wants to pay someone

other than [Affiliate Defendants] for that service." Id.

        Furthermore, TYenner did not involve the overpayment of government funds, the obligation

to repay government funds, or statutory entitlements to recover overpayments. Nor can Wenner

contradict the Arkadelphia principle that a party is entitled "in the event of a reversal, to be restored

by his adversary to that ,;vhich he has lost thereby." 249 U.S. at 145. Thus, Wenner's holding that

an injunction "freezes the status quo" should not be applied here, where Affiliate Defendants had




11 The district court in Smith was also likely wrong on the merits. Compare Smith, 236 F. Supp. 3d at 998 (stating the

Inspector General did not have "even a scintilla of evidence" to conclude the providers were not qualified), with
Ka11ff111a11, 981 F.3d at 382 (Elrod, J., concurring) (stating - with six other judges joining - that the record
"substantially supported the conclusion that Planned Parenthood had violated state and federal regulations concerning
the safe, legal, and ethical furnishing of medical care").


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no right to challenge their terminations in federal court in the first place and the district court's

assessment of the merits was dubious. 123 F.3d at 326. And even if Wenner establishes the legality

of Affiliate Defendant's submission of claims during the pendency of the injunction, it still does

not establish they had a right to keep the money after the erroneous injunction was vacated.

        Consequently, Affiliate Defendants' terminations were final as of January 19, 2017,

in Texas (the "Texas Termination") and PPGC's termination from Louisiana Medicaid was

final as of October 15, 2015 (collectively, the "Termination Dates"). t 2 As Affiliate Defendants

admit, "[a] provider is either terminated or it is not." ECF No. 417 at 28. And Judge Livingston

agreed when she found Defendants "cite[cl] no authority for the proposition that a court injunction

requires the OIG to re-notice its termination; that a pending federal court case or injunction tolls

the deadline to administratively appeal the termination; or that [they] can now challenge the

propriety of the [termination letters] in a state administrative proceeding ." ECF No. 390-2 at 452

(emphasis added). At a minimum, there was no legal basis to keep the money after the Fifth

Circuit's Kauffman opinion was issued in November 2020. 13 Accordingly, Affiliate Defendants

were not entitled to the payments and were obligated to return them at least within 60 days of the

Kauffman decision. No other argument advanced by Defendants convinces the Court otherwise.




12 Affiliate Defendants maintain that Louisiana "never" terminated PPGC from Medicaid. ECF No. 417 at 31.

The reason is that PPGC and LOH reached a settlement agreement on October 13, 2022, in which LDH agreed to
"prospectively withdraw" the termination notice. Id A prospective withdrawal of a termination notice means nothing
as to PPG C's prior status as a Medicaid provider. ln addition, the settlement agreement expressly states that it "does
not resolve and shall have no effect on" this case. ECF No. 382-2 at 17. Defendants stress that the settlement agreement
states that "PPGC, at all times relevant, participated in the Louisiana Medicaid Program as a provider of family
planning and other preventative health services to Medicaid patients." ECF No. 417 at 32 n.28. But it is undisputed
that PPGC "participated" in Louisiana Medicaid. The question is whether that paiticipation was lawful.
13 Even if Defendants' termination from Texas Medicaid did not become final until March 202 1 -           after the Texas
"grace period" and TRO from the Travis County Court expired - Defendants still did not repay the overpayments
within 60 days as required by law. See 31 U.S.C. § 3729(a)(l)(G); 42 U.S.C. § 1320a-7k(d)(2).


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        a. The absence of an ;,y·unction bond does not bar a statutory entitlement to recover
           ove11;ay111ents.

        In In re JD. Jewell, Inc., the Fifth Circuit held that "unless a bond has been executed upon

the granting of an injunction, the person enjoined can have no recovery against the moving party."

571 F.2d 928,933 (5th Cir. 1978); see also FED. R. C1v. P. 65(c). This rule is otherwise known

as the "malicious prosecution" standard. See Cappaert Ente1prises v. Citizens & S. Int'/ Bank of

New Orleans, 564 F. Supp. 214,218 (E.D. La. 1983). That is, "[i]fno security has been furnished,

the enjoined party can recover only by showing either that the applicant for injunctive

relief filed maliciously and without probable cause or that the applicant has been unjustly

enriched as a result of obtaining the relief." Id. at n.4. 14

        Here, Defendants rely on JD. Jewell to argue they have no repayment obligation because

neither the Texas nor Louisiana district court imposed a bond or entered an order requiring

payment. See ECF No. 382 at 35. But "restitution following a wrongful injunction is recoverable

separately from damages and is not constrained by the entry of an injunction bond." Aurorn Chi.

Lakeshore Hosp. v. Azar, No. 18-CV-8162, 2019 WL 8231646, at *1 (N.D. Ill. Mar. 4, 2019). 15

Thus, "the need for a bond is limited to the recovery of damages and has no application to a claim

for restitution of amounts subsequently found to have been undue." Newfield House, Inc. v. Mass.

Dep't ofPub. Welfare, 651 F.2d 32, 39 n.12 (1st Cir. 1981).




14 The J.D. Jewell principle was originally enunciated by the Supreme Court in Russell v. Farley, I 05 U.S. 433 (1881 ).

The Court was "governed in the matter by general principles and usages of equity" because there was "no act of
Congress or rule" of the Court that had ever been passed or adopted on the subject. Russell, I 05 U.S. at 441; see also
U.S. Steel Co,p. v. United Mine Workers ofAm., 456 F.2d 483, 490 (3d Cir. 1972) ("It was once ve1y much in doubt
whether an equity court could ever award damages.").
15 See also Kidney Patients, 958 F.2d at 1137 ("Any restitution principle would be severely undermined if its

enforcement depended on the parties' prior agreement as to the precise amounts involved."); Coyne-Delany Co. v.
Cap. Dev. Bd. ofState of II/. , 717 F.2d 385, 393 (7th Cir. 1983) ("Another exception might be where the plaintiff was
seeking restitution rather than damages.") (citing Alitche/1 v. Riegel Textile, Inc., 259 F.2d 954 (D.C. Cir. 1958));
Doman v. Sheet Metal Workers' Int 'I Ass '11, 810 F. Supp. 856, 859 (E.D. Mich. 1992) ("[Russell] does not stand for
the proposition that a com1 cannot grant restitution for an erroneous injunction .").


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       More specifically, "equity may not interfere with a[n] ... agency's statutory authority to

recover overpayments made under a subsequently invalidated court order." lvld. Dep 't of Hum.

Res., 976 F.2d at 1481 (citing Kidney Patients, 958 F.2d at 1134-37). And a "statutory entitlement

forecloses any equitable attempt, whether by injunction or otherwise," to bar Plaintiffs from

recovering those overpayments. Id. In other words, Affiliate Defendants' obligation to repay

overpayments arose from federal and state law -       not an order to repay from district courts.

Indeed, sometimes courts decline to require a bond precisely because the government can recover

the money later. See, e.g., Fort Defiance Indian Hosp. Ed., Inc. v. Becerra, No. CIV 22-0098

JB/CG, 2022 WL 1690040, at *59 (D.N.M. May 26, 2022).

       Even if the "malicious prosecution" standard were relevant, Affiliate Defendants have

arguably been unjustly enriched. See Mitchell, 259 F.2d at 956 ("As soon as the (over]payments

were made, unjust enrichment was complete."); Caldwell v. Puget Sound Elec. Apprenticeship &

Training Tr., 824 F.2d 765, 767 (9th Cir. 1987) ("Refunding the front pay simply puts the pai1ies

back where they were before the district court made its initial legal error."). But J.D. Jewell is

inapplicable here, where Plaintiffs have a statut01y entitlement to recover overpayments.

Accordingly, Affiliate Defendants had an obligation to return those overpayments.

       b. There is no general "demand requirement" on the part of the government before FCA
          liability can attach.

       Defendants next argue a state's discretionary authority to seek recoupment, by itself, does

not create an "established duty" to pay. ECF No. 382 at 36 (citing United States ex rel. Landis v.

Tailwind Sports Co,p., 160 F. Supp. 3d 253, 269 (D.D.C. 2016)). In other words, where a

regulatory statute imposes "only a duty to obey the law," the duty to pay regulatory penalties is

not "established" until the penalties are assessed. Simonea,\·, 843 F.3d at 1040. But "the fact that

further governmental action is required to collect a fine or penalty does not, standing alone, mean



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that a duty is not established." Id. at 1039-40. Thus, Defendants' cases stand for a rejection of "an

extraordinarily broad construction of the FCA" that would attach reverse FCA liability " from the

violation of any federal statute or regulation that imposes penalties." Id at 1039.

       Plaintiffs' construction of the FCA is not so extraordina1y. Here, the "established duty"

arises from the FCA's mandate to return payments to which Affiliate Defendants were not entitled.

See 42 U .S.C. § 1320a-7k(cl) ("If a person has received an overpayment, the person shall ... report

and return the overpayment") (emphasis added); United Stales ex rel. Mason v. Stale Farm lv/111.

Auto. Ins. Co., No. CV07-297-S-EJL, 2009 WL 10678747, at *5 (D. Idaho Aug. 18, 2009) ("A

plaintiff must show the obligation owed is mandatmy, rather than discretionary.") ; United States

ex rel. Huangyan Imp. & Exp. Corp. v. Nature's Farm Prod., Inc., 370 F. Supp. 2d 993, 1000

(N .D. Cal. 2005). It would be strange to hold that Affiliate Defendants have no obligation to return

payments received after they were terminated from the Medicaid programs despite the law

mandating the same. And this fact alone distinguishes this case from Defendants' cited authority.

       Defendants' argument essentially posits a "demand requirement" on the part of the

government before reverse FCA liability can attach. See ECF No. 382 at 37. But no such

requirement is found anywhere in the text of the FCA or the respective state statutes. Nor does due

process require such notice. See Rosas v. McMahon, 945 F.2d 1469, 1474 (9th Cir. 1991)

("Nothing in Goldberg v. Kelly limits the state ... from recouping excess payments made before

the notice was given."). Indeed, a demand requirement would defeat the purpose of allowing

"private qui tam relators to recover from persons ,vl10 make false or fraudulent claims for payment

to the United States." Graham Cnty. Soil & Water Conservation Dist. v. United States ex rel.

Wilson, 559 U.S. 280, 283 (2010); see also ACLU v. Holder, 673 F.3d 245, 253 (4th Cir. 2011)

(Congress accounted for "the government's limited resources" under the FCA). And it would




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contradict the plain language of the FCA which explains that an "obligation" can arise "from

statute or regulation, or the retention from any overpayment." 31 U.S.C. § 3729(b)(3).

       An argument similar to Defendants' was also rejected by the Southern District of New

York in Kane, 120 F. Supp. 3d 370. According to Title 42 U.S.C. § 1320a-7k(d)(2)(A),

overpayments must be returned by "the date which is 60 days after the date on which the

overpayment was identified." The defendants in Kane argued that "identified" means "classified

with certainty." Id. at 384. In their view, "Congress deliberately used ' identified' in order to

exempt from FCA liability those healthcare providers who recklessly fail to uncover or remain

deliberately ignorant of an overpayment." Id. at 386. Hence, a contrary interpretation "would

impose an unworkable burden on healthcare providers to require reporting and returning within

sixty days of the identification of potential overpayments." Id. at 388.

       The court rejected that argument, reasoning instead that the defendants' interpretation

"would make it all but impossible to enforce the reverse false claims provision of the FCA in the

arena of healthcare fraud." Id. at 390. In its view, "[p]ermitting a healthcare provider that requests

and receives an analysis showing over 900 likely overpayments to escape FCA liability by simply

ignoring the analysis altogether and putting its head in the sand would subvert Congress's intent

in amending § 3729(a)(l )(G)." Id. Further, the defendants' interpretation "would impose an

unworkably stringent burden on plaintiffs at the pre-discove1y stage." Id. Thus, "[b]y requiring

providers to self-report overpayments and imposing a relatively short deadline for repayments,

violation of which risks the severe liability of the FCA, Congress intentionally placed the onus on

providers, rather than on the Government, to quickly address overpayments and return any wrongly

collected money." Id. at 391. The same is true here -      the onus was on Affiliate Defendants to

identify overpayments and return the money. They did not.




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       In sum, the mere fact that "Texas and Louisiana have discretion not to pursue

administrative recoupment of Medicaid funds" does not mean Defendants had no obligation to

return overpayments received after being terminated from Medicaid. ECF No. 382 at 38; see also

81 Fed. Reg. at 7668 ("Providers and suppliers caimot rely on ... the OIG to point out their

overpayments for them -providers and suppliers are obligated to identify the overpayments they

have received."). A contrary holding would defy the plain text of the statute and thereby defeat the

purposes of the reverse false claims provision of the FCA.

       c. No retroactivity concems are implicated in this case.

       Defendants next argue the payments cannot "retroactively" become overpayments because

"[r]etroactivity is not favored in the law." ECF No. 382 at 42 (quoting Bowen v. Georgetown Univ.

Hosp., 488 U.S. 204, 208 (1998)). But " [i]n determining whether a statute applies retroactively,

we should concern ourselves with the statute's actual operation on regulated parties, not with

retroactivity as an abstract concept or as a substitute for fairness concerns." Vartelas v. Holder,

566 U.S. 257, 277 (2012) (Scalia, J., dissenting). Here, there is no dispute that Affiliate

Defendants' alleged conduct occurred after the relevant statutes were enacted. And " the general

principle is that a decision of a court of appellate jurisdiction overruling a former decision is

retrospective in its operation, and the effect is not that the former decision is bad law but that it

never was the law." Ruppert v. Ruppert, 134 F.2d 497, 500 (D.C. Cir. 1942) (emphasis added);

see also Azar, 507 F. Supp. 3d at 258 ("[E]quitable considerations are largely irrelevant when

considering the retroactivity of judicial decisions.").

       Nevertheless, Defendants aver that if they can be "retroactively" stripped of their

entitlement to the payments, it would "render preliminary injunctive relief meaningless." ECF No.

382 at 42 (quoting Longoria v. Paxton, 585 F. Supp. 3d 907, 934 (W.D. Tex. 2022), vacated and




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remanded on other grounds, No. 22-50110, 2022 WL 2208519 (5th Cir. June 21, 2022)).

But the court in Longoria relied on Justice Marshall 's dissenting opinion in Edgar, 585 F. Supp.

3d. at 934, which would "treat any federal judge's preliminary injunction restraining enforcement

of a state statute on federal grounds as a grant of immunity with respect to any conduct undertaken

while the injunction was outstanding," id. at 647-48 (Stevens, J., concurring).

       Granting such immunity is not within the powers of federal judges. That is because

a preliminary injunction "on its face does nothing more than temporarily restrain conduct."

Id. at 651. And "every litigant is painfully aware of the possibility that a favorable judgment of a

trial court may be reversed on appeal." Id.; see also Jonathan F. Mitchell, The Writ-Of-Erasure

Fallacy, 104 VA. L. REV. 933, 987 (2018) ("No one gets an immunity from civil or criminal

penalties by violating a statute at a time when the executive or the judiciary has chosen not to

enforce it."). Therefore, Defendants' retroactivity argument misses the mark.

       d. The "grace period" granted by Texas did not postpone the effective date of Affiliate
          Defendants' terminations.

       Defendants insist that the "grace period" -    obtained after the injunction was vacated -

"delayed implementation of the termination." ECF No. 417 at 31. But a federal district court's

grant of a preliminary injunction does not affect a provider's termination elate made effective

by the operation of valid state law. Nor do Defendants explain how a "grace period" can so

informally govern what is otherwise controlled by state law.

        The injunction only temporarily restrained state officials from acting as if Affiliate

Defendants had been terminated from Medicaid. And the 30-day transitional phase after the

injunction ,vas vacated was merely an agreement to act that way for a short while longer.

That agreement -    which expressly denied Affiliate Defendants' request to remain a participant in




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Medicaid -        did not somehO\v delay Affiliate Defendants' effective termination date. 16

And despite ,vhatever the "usual and common understanding" of the term "grace period" is, the

one here did not restore Medicaid provider agreements that had been terminated years earlier.

ECF No. 417 at 30. As the Court explained, Texas law provides that the date of termination and

the date of exclusion from Medicaid are one and the same.

        To recap, there can be no question that Affiliate Defendants had an obligation to return the

Medicaid payments after the injunctions were vacated. Those temporary rulings did not grant

Affiliate Defendants "immunity" to bill for as many services as they could before the injunctions

were vacated without the possibility of ever having to pay back those funds. The Smith injunction

did not even purport to do so. And even if it did, such an order would have constituted reversible

error. See Kidney Patients, 958 F.2d at 1134- 37; J\;/d. Dep 't of Hum. Res., 976 F.2d at 1480-83.

         Defendants maintain that there is no guidance "so much as implying that payments that

were legitimate when made can retroactively become 'overpayments."' ECF No. 417 at 43.

But pursuant to the statutory text, the term "overpayment" means "any funds" that a person

"receives or retains" "to v,1hich the person . . . is not entitled." 42 U.S.C. Section 1320a-

7k(d)(4)(B). (emphasis added). And here, "the use of the adjective 'any' indicates that Congress

intended that overpayments must be recouped without restriction." Turner, 830 F.2d at 1007. 17

For these reasons, the Court finds that Defendants had an obligation to repay the government

payments they received as a matter of law.



16 It is possible that the granting of this request might have been ultra vires. See ECF No. 417 at 28 ("Texas therefore

could not have lawfully reimbursed Affiliate Defendants for claims submitted during the Grace Period if they had
been terminated years earlier."); I Tex. Adm in. Code § 37 I. I703(g)(2). But even if that is true, it would only confirm
Affiliate Defendants were in fact terminated from Medicaid.
17 See also Pe11che11g Si v. Laogai /?sch Found., 71 F. Supp. 3d 73, 95 (D.D.C. 2014) ("Congress intended the relevant

triggering 'obligation' to be defined broadly."); I Tex. Ad min Code § 371.1 (55) (defining "overpayment" to include
"any funds" that are "received in excess of the amount to which the provider is entitled, whether obtained through
e1rnr, misunderstanding, abuse, misapplication, misuse, embezzlement, improper retention, or fraud").



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        2. A reasonable juror could fiud Affiliate Defemlrmts "k11owi11gly and improper(}'"
           avoided repayment obligations

        The terms "knowing" and "knowingly" mean that a person: (i) has actual knowledge of

the information; (ii) acts in deliberate ignorance of the truth or falsity of the information;

or (iii) acts in reckless disregard of the truth or falsity of the information. 31 U.S.C.

§ 3729(b)(1 )(A). 18 "In short, either actual knowledge, deliberate ignorance, or recklessness will

suffice." United States ex rel. Schutte v. Super Valu Inc., 143 S. Ct. 1391, 1400 (2023). 19 "First, the

term 'actual knowledge' refers to whether a person is 'aware of information." Id. "Second, the

term 'deliberate ignorance' encompasses defendants who are aware of a substantial risk that

their statements are false, but intentionally avoid taking steps to confirm the statement's

truth or falsity." Id. "And, third, the term 'reckless disregard' similarly captures defendants who

are conscious of a substantial and unjustifiable risk that their claims are false, but submit the claims

anyway." Id. at 1400~01;20 see also Farmer v. Brennan, 511 U.S. 825,836 (1994); Black' s Law

Dictionary 784 (5th ed. 1979); Restatement (Third) of Torts § 10, Comment c. Lastly, the terms

"knowing" and "knowingly" require no proof of specific intent to defraud. 31 U.S.C.

§ 3729(b)(l)(B). 21



18 The definitions of "knowingly" arc nearly identical under Texas and Louisiana law. See TEX. HUM. RES. CODE

§ 36.01 l(a); La. R.S. § 46:437.3.
19 "On their face and at common law, the FCA 's standards focus primarily on what [defendants] thought and believed."

SuperVa/11, 143 S. Ct. at 1400. As such, the focus is not "on post hoc interpretations that might have rendered their
claims accurate. It is instead on what the defendant knew when presenting the claim." Id. at 1401. Tlrns, the Cmnt
does "not look to legal interpretations that [defendants] did not believe or have reason to believe at the time they
submitted their claim." Id. at 1403.
20 The "reckless disregard" standard "is intended to reach the ' ostrich-with-his-head-in-the-sand' problem where

[defendants] hide behind the fact they were not personally aware that such overcharges may have occurred." United
States v. Krizek, 111 F.3d 934,942 (D.C. Cir. 1997). "ln some civil contexts, a defendant may be called 'reckless' for
acting in the face of an unjustifiably high risk of illegality that was so obvious that it should have been known, even
if the defendant was not actually conscious of that risk." SuperVa/11, 143 S. Ct. at 1401 n.5.
21 "The 1986 Amendments to the FCA, which added the scienter requirement, were not intended to create a

burdensome obligation." United States v. Rogan, No. 02 C 3310, 2006 WL 8427270, at* 19 (N.D. 111. Oct. 2, 2006),
ajf'd, 517 F.3d 449 (7th Cir. 2008). Thus, an FCA relator can establish the scienter element of his claim through
circumstantial evidence. United States ex rel. Taylor-Vick v. Smith, 513 F.3d 228, 23 1 (5th Cir. 2008). But this mens



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        Thus, to survive summary judgment, Plaintiffs must raise a genuine dispute of material fact

that Affiliate Defendants acted with either: (1) actual knowledge; (2) deliberate ignorance; or

(3) reckless disregard. 31 U.S.C. § 3729(b)(l )(A)-(B); see Super Valu, 143 S. Ct. at 1400 ("In short,

either actual knowledge, deliberate ignorance, or recklessness will suffice."). And even if statutory

or regulatory phrases relevant to a legal obligation are facially ambiguous, this does not preclude

a finding of scienter under the FCA because Affiliate Defendants could have "learned their correct

meaning." SuperValu, 143 S. Ct. at 1402.22

        a. A reasonable juror could.flnd Defendants' reliance on the vacated injunction to avoid
           ret11ming overpayments was at least reckless.

        By signing the provider agreements, Affiliate Defendants agreed to an affirmative duty to

refund any overpayments. See ECF Nos. 390-1 at 5, 390-4 at 253 (signed provider agreement

certifying "I also understand that any claims for payment with a elate of service during a period of

exclusion will be subject to recoupmcnt in addition to other fines, penalties, or restitution").

Defendants had a duty to familiarize themselves with Medicaid policies and laws, see, e.g., Spong

v. Fid. Nat. Prop. & Cas. Ins. Co., 787 F.3d 296, 308 (5th Cir. 2015), and state statutes also

informed Defendants of their obligation to repay the Medicaid funds. See, e.g., 1 TEX. ADMIN.

CODE § 371. l 703(g)(5). Secondary sources provide similar guidance. See, e.g., Joel D. Hesch,

Understanding the Revised Reverse False Claims Provision of the False Claims Act and Why No

Proof ofa False Claim ls Required, 53 UIC J. MARSHALL L. REV. 461,491 (2021) ("A defendant




rea requirement "is not met by mere negligence or even gross negligence." United States ex rel. Farmer v. City of
Haus., 523 F.3d 333,338 (5th Cir. 2008).
22 The FCA does not reach "claims made based on reasonable but erroneous interpretations of a defendant's legal

obligations." United States ex rel. l'urcelf v. tv!Wf C01p., 807 F.3d 281, 288 (D.C. Cir. 2015). But a defendant may be
liable when its interpretation "borders on the frivolous." Com. Contractors, Inc. v. United States, 154 F.3d 1357, 1366
(Fed. Cir. 1998); see also United States ex rel. Drn111111011d v. Bes/Care lab;' Servs., l.l.C., 950 F.3d 277, 281 (5th
Cir. 2020) ("[T]here is no plausible reading of the CMS Manual that could support the defendants' billing practices.").



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has requisite knowledge once it becomes aware that it is not entitled to retain the funds, even if at

the time it obtained them it lacked knowledge that it was not entitled to them.").

        Defendants suggest it is beyond the pale "for the party that acted under an injunction

to be punished for acting in accordance with the terms of a judicial decree." ECF No. 417 at 40.

But it is not their acting in accordance with a judicial decree that exposes them to FCA

liability -     rather, it is the failure to return funds to which they were not entitled after

that decree was vacated. 23 Case law makes clear that equitable principles cannot interfere with a

state's statutory entitlement to recover funds paid under an injunction issued erroneously after a

provider's termination from Medicaid has become final under state law. And Judge Livingston too

informed Defendants that Texas had not withdrawn or abandoned its prior termination and that the

letters from December 2020 and January 2021 did not "qualify as new terminations." ECF No.

390-2 at 452. Defendants "selected the federal courts as the forum to contest the merits of their

claims, and they are now not able to revive their administrative remedies as the deadline to seek

that relief has long since passed." Id.

         Likewise, some evidence suggests Affiliate Defendants acted with the requisite scienter.

To begin, they do not dispute they were aware of all the legal requirements and the 60-day rnle.

They knew their Louisiana termination would be final as of October 2015 and that those

elates would not change because of federal court action. See ECF No. 440 at 23. And the same

is true for Affiliate Defendants' terminations from Texas Medicaid -                           but they continued

billing even after Kauffman. Id. They knew they were "still terminated" during the "grace period."

Id. at 24. They knew their belated attempt to administratively appeal their Texas terminations




23 It is also for this reason Defendants are wrong to asse11 that subjecting them to damages and penalties "creates a

chilling effect" on seeking judicial relief against government action . ECF No. 4 I7 at 4 I.



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was denied. Id. And they knew their claims that their Texas terminations were not final

failed because there was no legal basis for those claims. Id.

        Further, Affiliate Defendants had no property interest 111 Medicaid reimbursements to

which they were not entitled. See, e.g., Pers. Care Prod., Inc. v. Hawkins, 635 F.3d 155, 158- 59

(5th Cir. 2011). Affiliate Defendants even admit that Kauffman could have provided grounds for

the federal or state government to seek repayment. See ECF No. 417 at 12- 13.24 And they also

admit this is "plainly" a situation where the law is "less-than-pellucid." ECF No. 438 at 15.

This illustrates that they could have been aware of the risk they could be wrong.

        Thus, a reasonable juror could conclude Affiliate Defendants' reliance on the vacated

injunctions to avoid repayment obligations amounts to "act[ing] in reckless disregard of the truth

or falsity of the information." 31 U.S.C. § 3729(b)(l)(A)(iii).25 If Plaintiffs can make this showing,

"then it does not matter whether some other, objectively reasonable interpretation" of "obligation"

or "overpayment" would justify their actions. SuperValu, 143 S. Ct. at 1404. In any case, there

is likely no other objectively reasonable interpretation because: (1) more than a century's worth

of case law has consistently required a party who benefitted from an erroneous injunction to

restore to their adversary what was lost; and (2) Defendants have essentially no authority to

support their position - as Judge Livingston found. ECF No. 391 at 33.

        b. Defendants' other rationales do not withstand scrntiny.

        As noted, Defendants attach much significance to the fact that Texas extended a one-month

"grace period" following the vacatur of the Texas injunction. ECF No. 382 at 45. But this fact did



24 Defendants suggest elsewhere that the States " may very well have not succeeded" because the States would have

been " unjustly enriched." ECF No. 417 at 36 n.34. It is doubtful that would be the case. See Bayou Shores, 828 F.3d
at 1328 n.55 . And to even suggest there was a possibility the States could have succeeded undennines Affiliate
Defendants' argument that they had no obligation or lacked the requisite scienter requirement.
25 Plaintiffs cite myriad other examples of Affiliate Defendants' subjective knowledge. See ECF No. 440 at 23-26.

The Court has also considered these facts but need not mention them all here.


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not make it objectively reasonable to believe the termination was not in effect. Defendants argued

in the Travis County District Court that the "grace period" rescinded the termination notices and

required Texas to re-terminate Affiliate Defendants. ECF No. 391 at 32. Again, however, Judge

Livingston found no authority to support that proposition. And the "grace period" was granted

solely "to ensure that current Medicaid services at [the] clinics can be transitioned to new

providers." ECF No. 390-2 at 170-71. It was also conditioned on the clinics no longer accepting

"any new Medicaid clients," id at 170, and did not authorize Defendants to use the time to bill for

as many services as they could. Whatever the purpose of the "grace period" was, it was not a re-

enrollment into a terminated provider agreement.

       Additionally, Defendants contend their conduct was objectively reasonable because

Texas and Louisiana did not provide any notice of overpayment. ECF No. 382 at 46.

At least in Texas, written notice is necessarily required for sanctions to be imposed.

Compare I TEX. ADMIN. CODE § 371.1655(4) (permitting sanctions if a person " fails to

repay overpayments within 60 calendar days of self-identifying or discovering an

overpayment that was made"), with § 371.1655(3) (permitting sanctions if a person

"fails to repay overpayments or other assessments after receiving written notice of the

overpayment"). But in any case, the Court explained why the government's lack of notice to return

overpayments does not relieve a provider of its obligations, as "[t]he impetus for the authorization

of qui tam actions was the truism that governments have limited resources." Yates v. Pinellas

Hematology & Oncology, P.A., 21 F.4th 1288, 1313 (11th Cir. 2021 ). And the onus is on

providers to identify and return overpayments. See Kane, 120 F. Supp. at 391.

        Likewise, Defendants aver that their position was objectively reasonable because Texas

and Louisiana have not returned to CMS its share of the overpayments as required by 42 C.F.R.




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§ 433.316(b). ECF No. 382 at 45. But whether a state has fulfilled its obligations to the federal

govermnent has no bearing on whether a provider has knowledge of overpayments. And in any

case, the federal share is determined and paid once amounts are recovered -      not when unlawful

conduct is discovered. 42 U.S.C. § 1396h(a).

       Next, Defendants argue their conduct was reasonable because Texas's position in

the termination litigation essentially adopted Defendants' current position. That is, because

Texas argued it would be "irreparably harmed" if forced to continue paying Defendants

for Medicaid services, it admitted that no mechanism exists to recover the money. ECF 382 at 47.

Otherwise, the harm would not be truly " irreparable." But the mere fact that Texas opposed

the injunction does not constitute an effective waiver of any argument in future litigation

that payments made during the pendency of the injunction can be recovered. Indeed, it is

unknown whether Texas was contemplating these supposed implications of its irreparable harm

argument when opposing the injunction. Either way, Texas would have been objectively

wrong to believe that it had no statutory entitlement to seek recoupment. And Defendants even

admit that Texas has such a mechanism. See ECF No. 417 at 36 n.35 .

       Finally, Defendants aver that the government's knowledge of the allegedly wrongful

conduct negates scienter under the FCA. Id. at 48- 50 (citing United States ex rel. Colquitt v. Abbott

Lab 'ys, 858 F.3d 365, 380 (5th Cir. 2017)). The so-called "govenm1ent knowledge defense" is the

principle "that under some circumstances, the government's knowledge of the falsity of a

statement or claim can defeat FCA liability on the ground that the claimant did not act ' knowingly,'

because the claimant knew that the govermnent knew of the falsity of the statement and was willing

to pay anyway." United States v. Bollinger Shipyards, Inc., 775 F.3d 255, 263 (5th Cir. 2014).

This argument ignores the fact that the main reason Texas and Louisiana were "willing to pay"




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was because the now-vacated injunctions or because of- in Texas's case - a short "grace period"

with a narrow purpose. And Defendants' assertion that " [n]o government agency sought

repayment" is wrong because "Texas is seeking to recover through this case." ECF No. 382 at 50,

27. Additionally, it is not merely government knowledge but rather knowledge and acquiescence

that establishes the defense. See, e.g., Co/quiff, 858 F.3d at 379-80. Here, Texas did not

acquiesce in Defendants' alleged violations.

       In sum, a reasonable juror could conclude it was at least reckless for Affiliate Defendants

to rely on temporary rulings that were later vacated to avoid their obligations to return

overpayments. Defendants have not cited a single case where a state or federal agency was denied

a statutory entitlement to recover payments made during the pcndency of an erroneous injunction.

Affiliate Defendants should have been "painfully aware of the possibility" that they would have

to return the money in the event the injunctions were vacated and had no good reason not to.

Edgar, 457 U.S. at 651 (Stevens, J., concurring).

       That said, when a state of mind is an essential element of the nonmoving party's claim,

"it is less fashionable to grant summary judgment because a party's state of mind is inherently a

question of fact which turns on credibility." Int'! Shortstop, Inc. v. Rally 's, Inc., 939 F.2d 1257,

1265 (5th Cir. 1991); see also United States ex rel. Montcrieffv. Peripheral Vascular Assocs.,

P.A., 507 F. Supp. 3d 734, 770 (W.D. Tex. 2020) ("Even though a court may grant summaiy

judgment when the intent element is clearly met, those cases are few and far between.").

Accordingly, summary judgment on Affiliate Defendants' liability for reverse FCA claims should

be denied . The Court finds that Affiliate Defendants had an obligation to return overpayments and

that a genuine dispute a material fact exists as to whether they "knowingly and improperly"

avoided those obligations.




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       B. Affiliate Defendants' Liability Under the "Implied False Certification" Theory

       The FCA also imposes liability on any person who "knO\vingly presents, or causes to be

presented, a false or fraudulent claim for payment or approval. " 31 U.S.C. § 3729(a)(l)(A).

Courts consider four elements in determining whether an FCA violation has occurred:

(I) whether there was a false statement or fraudulent course of conduct; (2) made or carried

out with the requisite scienter; (3) that was material; and (4) that caused the government to

pay out money or to forfeit moneys due (i.e. , that involved a claim). United States ex rel. Lemon

v. Nurses To Go, Inc., 924 F.3d 155, 159 (5th Cir. 2019).

       Under the " implied false certification" theory, liability under the FCA attaches when:

(1) "the claim does not merely request payment, but also makes specific representations about the

goods or services provided"; and (2) "the defendant's failure to disclose noncompliance with

material statutory, regulatory, or contractual requirements makes those representations misleading

half-truths." Universal Health Servs., Inc. v. United States ex rel. Escobar, 579 U.S. 176, 190

(2016). The term "material" means "having a natural tendency to influence, or be capable of

influencing, the payment or receipt of money or property." Id. "In other words, the Supreme Court

made clear that defendants could be liable under the FCA for violating statutory or regulatory

requirements, whether or not those requirements were designated in the statute or regulation as

conditions of payment." Nurses To Go, Inc., 924 F.3d at 159- 60.

       Here, Relator argues -    as an alternative to the reverse false claims theory -    that by

submitting Medicaid claims after the Termination Dates, Affiliate Defendants represented that

they: (1) \.Vere "qualified" under state and federal law; and (2) had not violated state or federal




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laws in their provision of medical services. ECF No. 391 at 68. 26 Relator contends those

representations were false "because the States had determined otherwise, and [Defendants] failed

to dispute those determinations in administrative proceedings" and that "compliance with

these laws were obviously a material requirement, since both Texas and Louisiana removed

the Affiliate Defendants from their Medicaid programs after [Texas and Louisiana] discovered

what [they] determined to be wrongful conduct." Id.

         Accordingly, Rclator argues Defendants are liable under this theory for claims submitted:

( 1) to Texas and Louisiana after February 5, 2011, but before the Termination Dates for failing to

comply with medical and ethical standards; 27 (2) to Texas qfter the Texas Termination; (3) during

the "grace period" in Texas after the Smith injunction was vacated; and (4) to Louisiana by PPGC

after it was terminated from Medicaid on October 15, 2015, and/or after the Texas Termination.

ECF No. 415 at 41. And, as forementioned, surviving summary judgment requires that Relator

establish -     at the least -      a genuine dispute of material fact as to the falsity, scienter, and

materiality elements on each claim for each phase.



26 Defendants contend that "Relator cannot raise at summary judgment a theory of liability that was not properly raised

in their Complaint." ECF No. 417 at 46. But this the01y of liability was raised in the complaint, even if the specific
words "implied false ce11ification" were not used. See ECF No. 2 at 37-39.
27 Defendants argue the FCA and LMAPIL's ten-year statutes of repose bar Relator's claims for alleged violations

before February 5, 2011. ECF No. 382 at 66 (citing 31 U.S.C. § 373 l(b)(2); La. R.S. § 439.1.B.). This date is
significant because the complaint alleges Defendants presented false or fraudulent claims for payment for Medicaid
services "[f]rom at least 2010 and continuing through 2020." ECF No. 2 at 3 (emphasis added). But a statute of repose
"is measured not from the date on which the claim accrues but instead from the date of the last culpable act or omission
of the defendant." CTS Corp. v. Waldburger, 573 U.S. I, 8 (2014) (emphasis added); see also United States ex rel.
1h1Cy v. Emigration !111prove111e11t Dist., No. 21-4059, 2022 WL 16570934, at *3 (10th Cir. Nov. I, 2022) (examining
31 U.S.C. § 3731 (b)(2) and concluding the ten-year period stm1ed to run when the defendant " submitted the last
claim"). In other words, the FCA 's statute of repose would not bar claims for alleged violations that occu1Tcd before
February 5, 2011. This is because the last culpable act or omission of Defendants allegedly occurred on March IO or
 12 of 2021. See ECF Nos. 81 at 3; 417 at 22. Thus, Relator's claims would not be barred by the statute of repose until
ten years after the last alleged violation occurred - no earlier than March I 0, 2031. See Tracy, 2022 WL I6570934,
at *3. And because Defendants admit the statute of repose in the LMAPIL "mitrnrs the language" of its FCA
counterpm1, the same applies. ECF No. 378 at 6. Therefore, Relator's claims are not barred by any stah1te of repose
in this case. But because Relator docs not dispute Defendants' statute of repose defense for claims submitted before
February 5, 2011, Relator has waived those claims. See ECF No. 415 at 41 11. 14. The Court 's analysis of these claims
is therefore limited to the period from Februmy 5, 2011, to the Termination Dates.


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       1. Affiliate Defeudrmts are uot eutitled to s11111111mJ' judgment for claims submitted
          before the Termi11atio11 Dates

       To participate in their Medicaid programs, Texas and Louisiana require that providers

comply with both federal and state laws and the relevant standards of care. La. R.S. §§ 437.1 l(A),

(B); I Tex. Admin. Code§§ 371.1605(b)(l), 371.1659(2). Relator alleges Affiliate Defendants

violated these requirements through "its histo1y of unethical practices related to fetal tissue

procurement, which were inconsistent with accepted medical standards and federal law." ECF No.

415 at 42. Further, Relator claims Affiliate Defendants waived their right to challenge these

determinations by failing to dispute them in administrative proceedings. Id. at 43. Hence, Affiliate

Defendants "indisputably billed Medicaid while committing program violations" and did not

disclose those violations -   thereby making those claims impliedly false. Id.; see also Lemon, 924

F.3d at 161-62. In light of this evidence, the Court finds that Plaintiffs have established a genuine

dispute of material fact as to the element of falsity on these claims.

        Concerning scienter, the FCA's requirement defines "knowingly" to mean that a person

has "actual knowledge of the information," "acts in deliberate ignorance of the truth or falsity of

the information," or "acts in reckless disregard of the truth or falsity of the information." Super Valu

Inc., 143 S. Ct. at 1399. Here, Defendants' conscious decision to continue billing Medicaid

contemporaneously with their alleged conduct could -         at the least -   be deemed reckless, and

therefore presents a genuine question of material fact as to the element of scienter.

        Concerning materiality, Defendants make much of Texas Inspector General Dr. Stuart

Bowen's use of the word "willingness" in his deposition testimony from prior litigation. But his

deposition in this case clarified that his use of the word was " inartfully chosen" and that the video

indicated the practice of altering abortion procedures to obtain fetal tissue had occurred before.

See ECF No. 383 at 118. Furthermore, a reasonable juror could find that "subjecting a patient to



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more pain without their consent to get better tissue specimens" is unethical, id, and that "these

violations were obviously material because the States terminated the Affiliates from Medicaid

once they were discovered," id at 44. Accordingly, the parties arc not entitled to summary

judgment on these claims.

       2. Parties are not entitled to s11m11u11J' judgment for claims submitted after the
          Termination Dates

       Relator argues here that submitting claims "that imply that Defendants were qualified and

had valid provider agreements when they did not is obviously 'false."' ECF No. 415 at 44.

But Defendants aver that "the mere act of submitting a claim while in violation of some other

standard or law cannot, on its own, trigger FCA liability." ECF No. 382 at 52. That is incorrect.

While it is true that "not eve1y undisclosed violation of an express condition of payment

automatically triggers liability," such nondisclosures will trigger liability where the

noncompliance is "material." Escobar, 579 U.S. at 190. Hence, the Supreme Court in Escobar

found the defendant's theory of FCA liability was absurd because it implied "misrepresenting

compliance with a condition of eligibility to even participate in a federal program when submitting

a claim would not" trigger liability. Id at 192 (emphasis added).

       But the Supreme Court contemplated that such nondisclosures could be "material," and for

good reason -   the fact that a provider is not eligible to participate in Medicaid could obviously

"hav[c] a natural tendency to influence, or be capable of influencing, the payment or receipt of

money or property." Id at 190. Additionally, Defendants' argument that their representations of

noncompliance with medical and ethical standards were not "objectively false" falls short. Id at

54. Both Texas and Louisiana determined Affiliate Defendants were unqualified as providers and

failed to comply with federal and state laws as well as rules, policies, and procedures of the

Medicaid program. See ECF No. 2 at 48, 61. Defendants' disagreements v,1ith these findings -



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which they did not administratively appeal -                do not justify representations of compliance.

The same can be said for CMS's disagreement with the States' decisions. Nor is CMS's position

on the merits of this case dispositive as to the FCA 's materiality requirement.

        Defendants further insist that "Relator must point to something Affiliate Defendants said

on the claims themselves," yet Relator "has not identified any representation Affiliate Defendants

made on a claim for payment." Id. at 52. This too misses the point, because " a statement that

contains only favorable matters and omits all reference to unfavorable matters is as much a false

representation as if all the facts stated were untrne." Escobar, 579 U.S. at 190 n.4; see also Olson

v. Fairview Health Servs. OfMn., 831 F.3d 1063, 1074 (8th Cir.2016) ("Action intended or known

to be likely to prevent another from learning a fact is equivalent to an assertion that the fact does

not exist."). In other words, the relevant inquiry here is what is missing from the claims- namely,

that Affiliate Defendants were not qualified to participate in Medicaid because they were found by

Texas and Louisiana to have violated state and federal regulations. Thus, the Court finds that

questions of material fact exist as to both the elements of falsity and materiality on these claims.

        Concerning scientcr, Defendants' arguments ignore the significance of the Termination

Dates and proceed as if Plaintiffs' claims rest on mere alleged violations of -        or a willingness to

violate -   "general sweeping language" in Medicaid provider agreements requiring providers to

"comply with all federal la,;,,1s and regulations." ECF No. 382 at 52. But that is not the case. Rather,

a reasonable juror could find Affiliate Defendants are liable for not disclosing in their submitted

claims the fact that they were terminated from Medicaid for noncompliance ,vith various material

requirements. 28 By arguing such nondisclosures are not "material," Defendants take the position

that a terminated Medicaid provider does not submit "misleading half-trnths" when failing to



28 The Court addresses PPGC's liability separately below.




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disclose that they are terminated. Escobar does not support this conclusion. Nor does the Supreme

Court's recent ruling in S11perVa/11. See 143 S. Ct. at 1403 ("[A] person might be liable for falsely

stating that 'the plumbing work that I did on your house complied with state law."'). Thus, parties

are not entitled to summary judgment on these claims. 29

        3. Parties are not entitled to s1111111w1')' judgment for claims submitted during the Texas
           "grace period"

        Here, Rclator argues that Affiliate Defendants are liable for false claims submitted during

the Texas "grace period" because "the indisputable evidence reveals that neither PPFA nor

Affiliate Defendants utilized the 'grace period' for the stated purpose of transitioning patients to

other providers." ECF No. 415 at 45. Instead, "the evidence shows that the Affiliates used the time

to bill for as many services as they could and did virtually nothing to help their patients find new

providers." Id. al 47. This evidence is sufficient to establish that there is a genuine question of

material fact as to the element of falsity.

        As for scienter, evidence suggests Affiliate Defendants' use of the "grace period" was to

" [buy] some time to continue seeing patients for another month" and "milk a few more stories"

out of it to frame Governor Abbott as "giving Medicaid patients 30 days to scramble and find new

providers in a system that already has a provider shortage." ECF No. 415 at 46; see also ECF No.

440 at 36 (PPST representative stating, "We need to act swiftly so we can capture as much

Medicaid revenue as possible"). Tims, there is a genuine dispute of material fact as to scienter.



29 If Relator ultimately prevails under both theories, there can be "ultimately only    one recovery" where alternate
theories establish liability for the same claims. United States ex rel. Heesch v. Diagnostic Physicians Grp., P.C., No.
CIV.A. 11-0364-KD-B, 2014 WL 2 155363, at* 10 n.2 (S.D. Ala. May 22, 2014). Some courts have held that reverse
false claims "cannot be based on a defendant's failure to refimd the same payment that was obtained by an actionable
false claim." See Hawaii ex rel. Torricer v. Liberty Dialysis-HmMii LLC, 51 2 F. Supp. 3d I 096, 1119 (D. Haw. 2021)
(collecting cases). Assuming these holdings are correct, that is not the case here. The reason is that Plaintiffs could
prevail on the reverse false claims theory even if Defendants prevail on Plaintiffs' implied false certification themy
of FCA liability. In other words, even if Defendants had made all the relevant material disclosures to the government,
that would still not entitle them to keep the money they were not entitled to.



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        Lastly, Relator argues that Affiliate Defendants' representations to Texas "were clearly

material, because transitioning patients to other providers was the sole reason Texas permitted one

month of Medicaid reimbursement, despite the Affiliates' disqualification and termination."

ECF No. 415 at 4 7. And Rel a tor avers that, absent that request, "the Affiliates' termination would

have been effectuated by the State as soon as the preliminary injunction was lifted by the Texas

federal trial court." Id. In light of Relator's evidence, the Court finds a genuine issue of material

fact exists as to materiality. Thus, parties are not entitled to summary judgment on these claims.

        4. Parties are 1101 e11titled to s111111nmJ' judgment for claims filed by PPGC in Louisiana
           lifter ter111i11atio11 from Texas A1edicaid

        Relator argues that -        at a minimum -           PPGC is liable for false claims submitted in

Louisiana after PPGC was terminated from Texas Medicaid. ECF No. 391 at 70. That is because

PPGC "disregarded their obligation under state law to immediately report to the State conditions

that affected their, or their affiliates', Medicaid enrollment in other states." Id. at 70- 71 (emphasis

added); 50 La. Admin. Code Pt. I, § 4147(A)(2)- (4), (8). If trne, "every claim PPGC filed in

Louisiana after the Texas termination became final ... was a false claim because PPGC was not

in compliance with program rules and requirements." Id. at 73.

        Defendants' main contention rests on arguments the Court has already rejected. 30

And Defendants also argue PPGC did provide notice of its termination from Texas Medicaid to

LDH in the spring of 2021, which Relator disputes. But in any case, doing so would not preclude

liability for claims submitted before that notice but after the termination from Texas Medicaid.

Accordingly, the Court finds that a genuine issue of material fact exists as to falsity.




30 See ECF No. 417 at 52 (" Relator's the01y incorrectly assumes that PPGC's termination from Texas Medicaid was

effective Februmy I, 2017."); id. (" It was objectively reasonable for PPGC to believe that Affiliate Defendants were
not ' terminated' from Texas Medicaid until after the Grace Period expired."); see also ECF No. 390-2 at 170 (January
2021 letter from Texas expressly denying Affiliate Defendants' "request to continue in the Medicaid program").


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       As to scienter, the Louisiana Provider Agreement that PPGC's CEO, Melaney Linton,

personally signed on behalf of PPGC states that she "certifies and agrees" and "understand[s] that

it is [her] responsibility to ensure that neither I, nor any . .. affiliate(s) are not now or have ever

been denied enrollment; suspended or excluded from ... Medicaid ... in any state; employed by

a corporation ... that is now or has ever been suspended or excluded from ... Medicaid . .. in any

state." ECF No. 415 at 48. It further states that she "will report any of the above conditions to

Program Integrity at the Department of Health and Hospitals . .. upon discovery once enrolled."

Id This evidence -      in concert with the fact that PPGC never notified Louisiana that it was

terminated from Texas Medicaid as of December 15, 2020 or informed LDH that the Fifth Circuit

overruled the decision upholding the Louisiana preliminary injunction -       is sufficient to establish

a genuine issue of material fact as to the element of scienter. See id at 48-49.

        Concerning materiality, Defendants argue the nondisclosures are immaterial because

"there can be no dispute that Louisiana is aware of Affiliate Defendants' Texas terminations now,

and yet PPGC remains a provider in good standing with Louisiana Medicaid." ECF No. 417 at 53.

Contrarily, Relator argues the alleged violations were material "because the State had already

terminated PPGC for similar reasons: its history of failure to disclose required information to LDH

and providing misleading information." ECF No. 415 at 51. Relator further contends that LDH

would likely not have allowed PPGC back into Medicaid "had they been apprised of the entire

histmy of PPGC's misleading and untruthful behavior," and that LDH "expressly allowed for

PPGC's liability in this case to be unhindered[,] [leaving open] the possibility that the Office of

the Attorney General or a relator could pursue claims .... " Id. at 53. In light of this evidence, the

Court finds that a genuine issue of material fact exists as to the element materiality. Accordingly,

parties are not entitled to summary judgment on these claims.




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        5. Claims paid by !v/a11aged Care Organizations

        The Court now addresses the issue of Managed Care Organizations ("MCOs"). Most of the

claims submitted to Texas Medicaid are claims submitted by MCOs where Texas pays

the MCO -       a private third-party health insurer -          a fixed monthly premium for each Medicaid

beneficiary the MCO covers, regardless of how many times the patient beneficiary sees a provider.

ECF No. 382 at 25. Defendants contend there can be no FCA liability without a demonstration

that " the government paid more to the MCOs for Affiliate Defendants' claims than it would have

otherwise paid for those same services." ECF No. 382 at 65; see also United States ex rel. Mbabazi

v. Walgreen Co., No. CV 19-2192, 2021 WL 4453600, at *6 (E.D. Pa. Sept. 28, 2021) ("[T]o assert

an FCA claim in the fixed-rate context, Relator[] must allege facts plausibly showing a

connection between the false claims and the increase in payouts -                           i.e., the causal chain

that affected payment from the program."). Because Plaintiffs have not made this showing,

Defendants argue the allegations related to Affiliate Defendants' claims for fix-rate services

paid by MCOs fail for lack of materiality. Id.

         The Court is unpersuaded by this argument for two reasons. First, Defendants cite

no binding authority to support this proposition. Second, even if the government "may be required

to pay for the care" of Planned Parenthood's patients, "it reasonably wants to pay someone other"

than Planned Parenthood for that service. Bayou Shores, 828 F.3d at 1328 n.55. 31

Accepting Defendants' argument "would mean that any government program that involved a fixed

annual contribution from the Government would be completely immune from claims of abuse."

United States v. Merck-Medco Managed Care, L.L.C., 336 F. Supp. 2d 430, 442 (E.D. Pa. 2004).



31 See also United States ex rel. White v. Mobile Care E!v!S & Tra11Sp., Inc. , No. 1: l 5-CV-555, 2021
                                                                                               WL 6064363, at
* 13 (S.D. Ohio Dec. 21, 202 1) ("To be sure, the federal government may not pay more, but the Defendants may
receive more of the federal funds" than they were entitled to.).


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Contrarily, Congress "plainly regarded a false claim as causing a loss to the United States ...

notwithstanding that the false claim would not lead to an additional pay-out of federal funds."

United States ex rel. Yesudian v. Howard Univ., 153 F.3d 731, 739 (D.C. Cir. 1998). Lastly,

"[w]hether or not the United States Government would be out additional money beyond that

already appropriated ... it would suffer a loss if the money appropriated for legitimate purposes

were instead wasted on a false claim." Id

       Therefore, the mere fact that the reimbursements paid to the MCOs were at

a "predetermined rate" does not necessarily mean the submission of any impliedly false

claims was immaterial. ECF No. 382 at 64. Accordingly, Defendants are not entitled to

summary judgment on the claims paid by MCOs.

       C. PPFA's Liability for Causing Affiliate Defendants' Alleged FCA Violations

       "[A] person need not be the one who actually submitted the claim forms in order to be

liable." Riley, 355 F.3d at 378 (internal marks omitted). Rather, the FCA imposes liability on a



       knowingly makes, uses, or causes to be made or used, a false record or statement
       material to an obligation to pay or transmit money or property to the Government,
       or knowingly conceals or knowingly and improperly avoids or decreases an
       obligation to pay or transmit money or property to the Government[.]

31 U.S.C. § 3729(a)(l)(G) (emphasis added); see also La. R.S. 46:438:3(A) ("No person shall

knowingly present or cause to be presented a false or fraudulent claim."); TEX. HUM. RES. CODE

§ 36.002(4), (12). The purpose of the "causes" provision is "to reach any person who knowingly

assisted in causing the government to pay claims which were grounded in fraud, without regard to

whether that person had direct contractual relations with the government." Co111111onwea/th ex rel.

Martino-Fleming v. S. Bay Mental Health Ctr., Inc., 334 F. Supp. 3d 394, 406 (D. Mass. 2018)

("Martino-Fleming I"). Here, Relator argues PPF A is liable under both the reverse false claims



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theory and implied false certification theory because it "caused" the submission of false claims

and the unlawful retention of overpayments. ECF No. 391 at 46, 73-74. The Court finds that PPFA

is not entitled to summary judgment under the implied false certification theory but is entitled to

summary judgment under the reverse false claims themy.

        I. PPFA could be held liable for "causing" afalse record or statement material to "au"
           obligatiou to pay 111011ey to the govemmeut - not necessarily "their" obligatio11

        PPFA insists that it "is not a health care provider, does not participate in Medicaid, never

received Medicaid payments, and thus never had any obligation to pay or repay the govenunent."

ECF No. 385 at 7. PPFA does not submit any claims to Texas's or Louisiana's Medicaid programs,

nor does it assess Medicaid compliance of its affiliates. Id. at 10. PPFA further maintains that

because the ACA's definition of "overpayment" references any funds that a "person" receives or

retains, and because the ACA defines "person" as a "provider of services, supplier, medicaid

managed care organization . .. Medicare Advantage organization ... or [prescription drug plan]

sponsor," PPF A has no obligation to pay the government because it is not a "person." Id. at 14

(citing 42 U.S.C. § 1320a-7k(d)(4)(B), (C)). •

        This argument is unpersuasive. PPFA need not be a "person" under the ACA in order to

cause a "person" to submit false claims under the FCA. Indeed, the FCA applies "even where there

is no direct liability running from the Government to the claimant." United States v. Caremark,

Inc., 634 F.3d 808,817 (5th Cir. 2011) (emphasis in original). Thus, "[t]hc statute does not require

that the statement impair the defendant's obligation; instead, it requires that the statement impair

'an obligation to pay or transmit money or property to the Government. "' Id. (quoting 31 U.S.C.

§ 3729(a)(7)).32 Section 3729(a)(l)(G) likewise refers to "an obligation" and should therefore be


32 Section 3729(a)(7) was the prc-2009 version of Section 3729(a)(l)(G). Section 3729(a)(7) imposed liability on any

person who "knowingly makes, uses, or causes to be made or used, a false record or statement to conceal, avoid, or




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read the same way. Accordingly, PPPA's motion for summary judgment as to the alleged fCA

violations under the implied false certification theory fails.

        2. PPFA ca1111ot be held liable for Affiliate Defe11da11ts' alleged reverse false claims

         Similarly, PPFA argues Section 3729(a)(l)(G)'s use of the word "causes" does not apply

to the reverse FCA provision -           the statute's second clause following the disjunctive "or," which

attaches liability to any person who "knowingly and improperly avoids or decreases an obligation

to pay or transmit money or property to the Government." ECF No. 414 at 16.33 Thus, PPFA avers

that it could not be liable for "causing" any reverse FCA violations by Affiliate Defendants. Id.

         Here, the Court agrees that PPF A's argument is supported by the plain text of the statute.

See Henson v. Santander Consumer USA Inc., 582 U.S. 79, 86 (2017) ("[W]hen we're engaged in

the business of interpreting statutes we presume differences in language like this convey

differences in meaning.").34 It is one thing to hold that a mens rea term such as "knowingly" can

"travel" through to the end of a sentence. See Flol'es-Figue/'oa v. United States, 556 U.S. 646, 650

(2009). But it is another thing to hold a term like "causes" should similarly travel through, despite

the statute being disjoined by an "or" and the second clause having its own mens /'ea term.

         Further, the Fifth Circuit's holding in Caremark that there can be indirect liability for

reverse false claims is not controlling because it applied the pre-2009 version of the statute.

See 634 F.3d at 815 n.6. And Plaintiffs do not cite any post-2009 cases that hold there can be




decrease an obligation to pay or transmit money or property to the Government." The 2009 amendments added a
second clause that affects the reach of the reverse FCA provision, which is discussed below.
33 See 31 U.S.C. § 3729(a)( I )(G) (imposing liability on any person who "knowingly makes, uses, or causes to be made

or used, a false record or.statement material to an obligation to pay or transmit money or prope11y to the Government,
01· knowingly conceals or knowingly and improperly avoids or decreases a11 obligatio11 to pay or transmit money or
prope11y to the Government") (emphasis added).
34 See also U11ited States ex rel. Barrick v. Parker-Migliorini /111 'l, LLC, 878 F.3d 1224, 1226 (I 0th Cir. 2017) ("[T]he

reverse-false-claims provision creates liability for wrongfully avoidi11g payments that should have been made to the
government. But, crucially, liability under the reverse-false-claims provision requires the existence of an
'obligation' - defined as an 'established duty' - to pay money to the government.").


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indirect liability for reverse false claims under Section 3729(a)(l)(G) -   rather, Plaintiffs insist

only that the FCA should be construed "broadly" and that "it is probable that Congress intended

both clauses to have the same effect." ECF No. 440 at 41. That proposition is not immediately

clear to the Court - it is entirely possible that Congress wanted to narrow the pool of persons that

could be held liable for reverse false claims. I3ut regardless, speculation over Congress' s intent

cannot overcome clear statutory text. PPFA is therefore entitled to summary judgment on the

alleged reverse FCA violations.

       3. PPFA 's liability for causing the submission of false claims can be supported by
          evidence ofpolicies and business pmctices within its co11trol

       Plaintiffs chiefly argue PPFA caused Affiliate Defendants' alleged FCA violations through

its extensive control over Affiliate Defendants. ECF No. 415 at 70. That control is evidenced by

PPFA's "rigorous" accreditation and evaluation process which addresses "every aspect" of

Affiliate Defendants' business. ECF No. 391 at 89-90. Among other things, PPFA provides

consulting services to Affiliate Defendants through its "Business Operations Team," "Healthcare

Operations Team," "Clinical Operations Team," "Financial Support Team," and "Medical

Standards and Guidelines Team." Id. at 91 - 94.

       PPFA admits that it "provides high-level guidance on national Medicaid trends, new

federal regulations, and general Medicaid-related best practices." ECF No. 414 at 36.

PPFA also provides loans and direct funding to Affiliate Defendants, and Medicaid payments were

a source of cash used by Affiliate Defendants to pay dues to PPFA. See ECFNos. 391 at 95, 390-

3 at 484. Further, PPFA performs risk assessments concerning federal funding Affiliate

Defendants receive, ECF No. 391 at 96, assists Affiliate Defendants "in staying abreast of changes

in laws and policies," id., and has a "Health Care Investment Program" through which it provides

direct funding to Affiliate Defendants to pay for Medicaid and healthcare billing consultants. Id.



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at 97. And PPFA also formed a "Defund Action Team" to provide "Gap Funding" to Affiliates

terminated from Medicaid. ECF No. 391 at 96.

        PPFA contends that "any control PPFA might have over the Affiliate Defendants is simply

irrelevant to whether PPF A directly violated the statutes at issue, which is the only basis of liability

for which Plaintiffs actually argue." ECF No. 414 at 14. That is because "the level of control a

parent exercises over a subsidiary (or a membership organization exercises over its members) is

relevant only when a party seeks to hold the parent liable for the subsidiary's actions through a

theory of derivative liability, such as veil-piercing or alter ego." ECF No. 414 at 9 (citing United

States v. Bes((oods, 524 U.S. 51 (1988)).

        The Supreme Court's decision in Besifoods does not help PPFA. There, the relevant statute

attached liability to "any person who at the time of the disposal of any hazardous substance owned

or operated any facility at which such hazardous substances were disposed of." 42 U.S.C.

§ 9607(a)(2). The Court did indeed hold that parent control of the subsidiary would not give rise

to direct liability under the statute. See Besifoods, 524 U.S. at 68 ("The question is not whether the

parent operates the subsidiary, but rather whether it operates the facility, and that operation is

evidenced by participation in the activities of the facility, not the subsidiary."). However, the Court

also suggested the parent corporation might have been directly liable where its agent "actively

participated in and exerted control" over a variety of environmental matters and issued directives

to its subsidiary regarding responses to regulatory inquiries. Id. at 72. This is similar to what

Relator alleges. See ECF No. 440 at 47 ("Relator agrees that there must be ' some degree of

participation' by PPFA in the claims filed by the Affiliate Defendants.").

        Additionally, this case differs from Besifoods because of the relevant statutory language in

Section 3729(a)(l)(G). That provision's inclusion of the word "causes" indicates liability can




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attach for an "indirect false claim" -        meaning the FCA does not always require an "affirmative

act" to impose liability. Caremark, 634 F.3d at 815; United States ex rel. Martino-Fleming v. S.

Bay 1\llental Health Ctr., Inc., No. CV 15-13065-PBS, 2018 WL 4539684, at *4 (D. Mass. Sept.

21, 2018) ("A1artino-Fleming II"). Again, "a person need not be the one who actually submitted

the claim forms in order to be liable." United States v. Mackby, 261 F.3d 821, 827 (9th Cir. 200 l ).

And "most courts agree that the FCA covers 'indirect mulcting of the government."' United States

v. President & Fellows of Harvard Coll., 323 F. Supp. 2d 151, 187 (D. Mass. 2004) (quoting

United States v. Lagerbusch, 361 F.2d 449, 449 (3d Cir. 1966)).

        Thus, if a person "knowingly participates in a scheme that, if successful, would ultimately

result in the submission of a false claim to the government, he has caused those claims to be

submitted." Martino-Fleming I, 334 F.Supp.3d at 406 (citing United States ex rel. Schmidt v.

Zimmer, Inc., 386 F.3d 235, 243-44 (3d Cir. 2004)). Put another way:

        Where the defendant has an ongoing business relationship with a repeated false
        claimant, and the defendant knows of the false claims, yet does not cease doing
        business with the claimant or disclose the false claims to the United States, the
        defendant's ostrich-like behavior itself becomes a course of conduct that allowed
        fraudulent claims to be presented to the federal government.

Hanover Ins. Co. v. Dunbar Mech. Contractors, LLC, 964 F.3d 763, 768 (8th Cir. 2020). 35

        Hence, PPFA can be "directly" liable under Section 3729(a)(l )(G) for "indirectly" causing

Affiliate Defendants' submission of false claims without resort to derivative liability.

And this could be shown by evidence that PPF A "operat[eel] under a policy" that caused Affiliate

Defendants to submit false claims. Fellows ofHarvard Coll., 323 F. Supp. 2d at 187.




35 See also Riley, 355 F.3d 370 at 378 ("The FCA applies to anyone who knowingly assists in causing the government

to pay claims grounded in fraud."); Marti110-Fle111i11g If, 2018 WL 4539684, at *4 (" A defendant may be liable where
the submission of false claims by another entity was the foreseeable result of a business practice.").


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         Accordingly, while PPFA's "control" over Affiliate Defendants would not suffice lo show

that PPFA itself "made or used" false records or statements material lo an obligation -                             a

reasonable juror could find evidence of a policy, practice, or "ongoing business relationship" that

indirectly caused Affiliate Defendants to submit false claims. Hanover, 964 F.3cl at 768.

         Similarly, Relator further alleges PPFA "mastermind[ed] and orchestrat[ecl] a strategy" to

enable Affiliate Defendants to continue seeking reimbursement from Texas and Louisiana

Medicaid after the Termination Dates and continue refusing to return those funds. ECF No. 391 at

76-77.    According to         Relator, PPFA "steered Affiliate Defendants away from                              the

prescribed administrative appeals and into lengthy legal battles" in federal courts, id. at 78,36

and helped craft the request for the "grace period" -                     allegedly "mere pretext" to allow

Affiliate Defendants to continue to bill Texas Medicaid, id. PPFA then assisted in filing the

unsuccessful lawsuit in Travis County District Court -                    asserting legal theories for which

they had "no authority" -       on the last clay of the "grace period." Id. at 79.37

         Relator also alleges PPFA participated in PPGC's efforts "to conceal the true facts of their

termination and their affiliates' Texas terminations from LDH and the Middle District of

Louisiana" to maximize Medicaid revenue. 38 Id. And PPFA "continues to represent and assist

Affiliate Defendants in their ongoing efforts" to withhold the money. Id.




3 6 A 2021 email shows PPGT's officers wondering why they did not pursue administrative remedies five years earlier.

See ECF No. 390-13 at 119. The answer: a "legal strategy decision" - though no one in the email chain seems to
understand the rationale. Id.
37 Six days before the state court filing, executive leadership at PPGT sent an email stating, "PPFA wants to keep this

litigation going" because "the lawsuit and on-going new coverage of patients impacted supports PPFA 's conversations
with the new [Biden] Administration." ECF No. 415 at 67.
38 Relator alleges PPFA did not update the Louisiana federal district comt on the Fifth Circuit's vacatur of the Texas
injunction and continued to urge the comt "to keep the baseless injunction in place - and it did." ECF No. 391 at 87.
"The result was that for nearly a year after it was known to PPFA and PPGC that the preliminaiy injunction had no
legal basis and should be vacated, PPGC continued to bill Louisiana Medicaid and PPFA continued to support that
effort in court." Id.


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        PPFA avers that this argument "is precluded as a matter of law." ECF No. 414 at 18.

Because Plaintiffs' arguments are predicated on PPFA's "Litigation & Law" Department's

("L&L") representation of Affiliate Defendants, PPFA relies on the "litigation privilege," which

authorizes attorneys to "practice their profession, to advise their clients and interpose any defense

or supposed defense, ,vithout making themselves liable for damages." All. Dev., Inc. v. St. Paul

Mercwy Ins. Co., No. 4:11-CV-03234, 2012 WL 112612, at *3 (S.D. Tex. Jan. 11, 2012).

But the allegations do not purport to attach personal liability to the individual L&L lawyers'

representation of Affiliate Defendants. Rather, because the attorneys are PPFA's employees, PPFA

could be held liable if they "were acting within the scope of their authority and for the purpose of

benefitting" PPFA. United States v. Hangar One, Inc., 563 F.2d 1155, 1158 (5th Cir. 1977).

        Additionally, "liability of a corporation for a False Claims Act violation may arise from

the conduct of employees other than those with 'substantial authority and broad responsibility."'

Id. In other words, Section 3729(a)(l) broadly attaches liability to "any person" who violates

one of its subjections. And "statements involving some legal analysis remain actionable if they

'carry with [them] by implication' an assertion about ' facts that justify' the speaker's statement."

SuperValu, 143 S. Ct. at 1403 (internal marks omitted). 39 Hence, nothing in Section 3729(a)(l)

purports to preclude liability if the person who "causes" the submission of false claims

just so happens to be a lawyer.

         To recap, a reasonable juror could conclude that PPFA caused Affiliate Defendants'

submissions of false claims through various means. For these reasons, the Court finds that genuine

disputes of material facts exist as to whether "PPFA's scheme ultimately allowed the Affiliate


39 For example, "a person might be liable for falsely stating that 'the plumbing work that I did on your house complied

with state law."' SuperVa/11, 143 S. Ct. at 1403. llcnce, while the Supreme Court assumed without deciding
"misrepresentations of law arc not actionable" under the FCJ\, the Court noted "the rule has significant limits on its
own terms." Id.



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Defendants to obtain preliminary injunctions so they could continue seeking reimbursement from

Texas and Louisiana Medicaid for years" after they were terminated for violating medical and

ethical standards. ECF No. 415 at 65. Accordingly, parties are not entitled to summary judgment

on PPF A's liability for causing the submission of impliedly false claims.

        D. Parties Arc Not Entitled to Summary Judgment on Relator's Conspiracy Claims

        The TMFPA imposes liability on a party who "conspires to commit a violation" of the

TMFPA. TEX. HUM. RES. CODE§ 36.002(9); see also 3 l U.S.C. § 3729(a)(l)(C) (imposing liability

on any person who "conspires to commit a violation of' the FCA). Likewise, the LMAPIL imposes

liability on a person who "conspire[s] to defraud, or attempt to defraud, the medical assistance

programs through misrepresentation or by obtaining, or attempting to obtain, payment for a false

or fraudulent claim." La. R.S. § 46.438.3(D). 40 To prove an FCA conspiracy, Relator must show:

"(l) the existence of an unlawful agreement between defendants to get a false or fraudulent claim

allowed or paid by [the Govermnent] and (2) at least one act performed in furtherance of that

agreement." United States ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 193 (5th Cir. 2009). As

part of that showing, Relator must demonstrate that Defendants "shared a specific intent to defraud

the Govenunenl." United States ex rel. Farmer v. City ofHo us., 523 F.3d 333,343 (5th Cir. 2008).

And "[a]lthough circumstantial evidence may often be used to show intent, this element must be

established by full, clear, satisfactory, and convincing testimony." Riq11elme Valdes v. Leis11re Res.

G,p., Inc., 810 F.2d 1345, 1351 (5th Cir. 1987).

         Here, Relator alleges Defendants are liable for conspiracy to commit healthcare fraud in at

least three ways. First, Defendants allegedly conspired to violate the TMFPA by agreeing that

PPST, PPGT, and PPGC would not return overpayments received under the vacated preliminary


40 Relator may still pursue these claims despite Texas's pm1ial intervention and decision not to prosecute these claims.

See United States ex rel. Ormsby v. Sutter Health, 444 F. Supp. 3d IO I 0, I075 (N.D. Cal. 2020) (collecting cases).


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injunctions -   either by asking for relief they knew had no basis in law or by avoiding updating

the court as to developments directly impacting the legal basis for their claims. ECF No. 391 at

99- 100. Second, Affiliate Defendants continued to file claims for reimbursement in Texas even

after they knew the State's termination of the Medicaid provider agreements was final. Id at 100.41

And third, Defendants allegedly conspired by telling Texas they needed a "grace period" to

transition patients but instead used the time "to bill for as many services as they could." Id

"This was done through a letter drafted by PPFA and signed by PPST, PPG'f, and PPGC." Id.

        Defendants argue there is no evidence of an agreement to violate the law, an act performed

in such an agreement, or a specific intent to defraud Medicaid. ECF No. 382 at 65. But it is "not

enough to move for summary judgment . .. with a conclusory assertion that the plaintiff has no

evidence . . . . " Celotex Co,p. v. Catrett, 477 U.S. 317, 328 (l 986) (White, J., concurring).

Furthermore, "Relator has identified numerous facts that show Planned Parenthood's liability for

conspiracy," ECF No. 415 at 65, and "Defendants do not dispute that they agreed together to

commit the acts that Plaintiffs allege violates the TMFPA and LMAPIL" -                they " merely dispute

that there is an 'offense' at all," ECF No. 440 at 51. Therefore, summary judgment is inappropriate.

        E. Plaintiffs Are Not Entitled to Summary Judgment on Defendants' Excessive Fines
           Defense

        The Eighth Amendment provides: "Excessive bail shall not be required, nor excessive

fines imposed, nor cruel and unusual punishments inflicted." U.S. CONST. amend. VIII.

Thus, the Excessive Fines Clause "limits the government's power to extract payments,

whether in cash or in kind, as punishment for some offense." United States v. Bajakajian,

524 U.S. 321,328 (1998). And while the Excessive Fines Clause applies only to "fines," -                  i.e.,

" payment(s] to a sovereign as punishment for some offense," id. at 327, FCA monetary


41 Relator alleges PPF A and PPGC conspired to violate the LMAPIL in the same way. ECF No. 391 at I 00.




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awards are considered "fines" because FCA treble damages and statutory penalties "are essentially

punitive .... " Vt. Agency ofNat. Res. v. United States ex rel. Stevens, 529 U.S. 765, 784 (2000).

        Here, Plaintiffs move for summary judgment as to Defendants' affirmative defense under

the Excessive Fines Clause. ECF No. 391 at 201. However, "whether a fine is constitutionally

excessive calls for the application of a constitutional standard to the facts of a particular case."

United States ex rel. Fago v. lvl & T1\1ortg. Co1JJ., 518 F. Supp. 2d 108, 124 (D.D.C. 2007) (quoting

Bajakaij'an, 524 U.S. at 336 n.1 ). Thus, "the contours of the offense must first be established before

a court can determine if the fine imposed is unconstitutionally excessive." Id.

        Likewise, there exists "numerous undecided questions of fact that must be determined at

trial, including the appropriate amount of statutory penalties" that may be awarded. Id.; see also

Cheffer v. Reno, 55 F.3d 1517, 1524 (11th Cir. 1995) ("The parties do not raise a purely legal issue

which we can decide in the abstract without further factual development."). Accordingly, Plaintiffs

are not entitled to sunmrnry judgment on Defendants' Excessive Fines defense. And for similar

reasons, Relator's motion for summary judgment on "civil fines, civil penalties, attorneys' fees,

costs and expenses" should be also denied. See ECF No. 389 at 3.

        SEALING

        Lastly, the Court finds that this Order should be and now is SEALED. In Binh Hoa Lev.

Exeter Fin. C01p., the Fifth Circuit held that "[t]he public's right of access to judicial records is a

fundamental element of the rule of law" and that " [p]roviding public access to judicial records is

the duty and responsibility of the Judicial Branch." 990 F .3d 410, 417 (5th Cir. 2021 ). 42 There, the

Court of Appeals took issue with a wide range of documents being indefinitely sealed merely on



42 Writing for the court, Judge Willett observed that "the working presumption is that judicial records should not be

sealed." Bi11h Hoa Le, 990 F.3d at 419. That is why this Court has undergone the exhaustive "case-by-case, document-
by-document, line-by-line balancing of the public's common law right of access against the interests favoring
nondisclosure." Id. (internal marks omitted).


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the parties' request. "In other words, the parties decided unilaterally what judicial records to keep

secret, and their decision was permanent." Id. at 420.

       That is not the case here. First, this Court's decision to seal any filing in this case has been

made on a document-by-document basis and is justified independently of any request by the

parties. See, e.g., ECF Nos. 27, 526. Second, that justification is predicated either on this Court's

motivation to prevent jury pool taint -     and thereby serve the interests of justice -     and/or to

protect the identity and physical safety of the parties and their employees, given the unique and

delicate subject matter at hand. See, e.g., ECF Nos. 79, 124. Third, adequately addressing the legal

issues discussed supra required that the Comt make use of content contained in sealed documents.

And in doing so, the Court exhaustively reviewed each piece of information used and determined

- on an individual basis -    whether its inclusion was necessary to the exposition of this Order.

        Finally, all orders sealing documents in this case were not -   and are not -   intended to be

permanent. Rather, as soon as the Court deems that unsealing a particular filing can be done

without substantial risk to any of the foregoing factors, it will do so out of recognition that

"fj]udicial records belong to the American people." Id. at 417.

        CONCLUSION

        For the foregoing reasons, the Court GRANTS the Motions and Cross-Motions IN PART.

Affiliate Defendants are obligated to return overpayments and PPFA is entitled to summary

judgment on Affiliate Defendants' alleged reverse false claims.

        SO ORDERED.

        October 23, 2023


                                                               HEW J. KACSMARYK
                                                              ED STATES DISTRICT JUDGE




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